                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:11-cr-17
 vs.                                                  )
                                                      )
 ADRIAN DEJUAN TORAN                                  )       COLLIER/CARTER

                                 MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on July 22, 2011, in
 accordance with 18 U.S.C. §§ 3143 and 3148 on a Petition for Action on Conditions of Pretrial
 Release (Doc 131). Those present for the hearing included:

                (1) AUSA Scott Winne for the USA.
                (2) The defendant, Adrian Dejuan Toran.
                (3) Attorney Clay Whittaker for defendant.
                (4) U.S. Pretrial Services Officer Michael E. Stuart
                (5) Deputy Clerk Kelli Jones.


         AUSA Chris Poole and Attorney Clay Whitaker announced that the facts set forth in the
 petition were stipulated to as true. Attorney Whitaker called U.S. Probation Officer Michael
 Stuart, who testified that other than the admitted drinking and driving under the influence charge,
 the defendant followed all other conditions of his pretrial release and was presently employed.

         Based on the defendant’s admitted conduct in direct violation of his conditions of bond
 which included use of NO alcohol and further based on Defendant’s prior record which included
 two misdemeanor drug possession convictions, a public intoxication conviction, a misdemeanor
 assault conviction and a criminal trespassing conviction, I conclude the defendant has failed to
 abide by his conditions of release and that he is a danger to the community. For those reasons,
 he must be detained without bond.

        SO ORDERED.

        ENTER.

        Dated: July 22, 2011                  s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




Case 1:11-cr-00017-TRM-CHS           Document 133         Filed 07/22/11     Page 1 of 1     PageID
                                           #: 284
